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                         EXHIBIT 16
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                                                                                               Mark A. Lemley
                                                                                          415-376-6404 (direct)
                                                                                           415-362-6666 (main)
                                                                                      mlemley@durietangri.com

January 8, 2022

VIA EMAIL

Guy Charusadhirakul
Google, LLC.
1600 Amphitheater Parkway
Mountain View, CA 94043
gcharusa@google.com

Re: DMCA Takedown Notice re Garena Free Fire – New Age and Garena Free Fire MAX

Dear Mr. Charusadhirakul:

We are counsel to Garena International I Private Ltd., Garena Online Private Ltd. (now known as Moco
Studios Private Limited), and Sea Ltd. (collectively, “Garena”).

We write in response to your email dated January 7, 2022 wherein you informed Garena that Krafton,
Inc. (“Krafton”) filed a DMCA takedown notice regarding Garena Free Fire – New Age and Garena
Free Fire MAX. You also attached a letter dated December 21, 2021 from Winston & Strawn. Krafton
has made various allegations, including that Garena has infringed Krafton’s intellectual property rights,
in particular, its copyright. Garena denies Krafton’s allegations and will be responding to Winston &
Strawn’s letter as well as disputing the allegations in the appropriate forum.

In any event, it is a matter of public record that Garena and PUBG Corp. (which merged with Krafton in
2020 and assumed PUBG Corp.’s contractual obligations), previously litigated in arbitration the validity
of a settlement agreement concerning PUBG’s (now Krafton’s) purported copyright claims. See the
Singapore Court of Appeal’s reported judgment in PUBG Corp v Garena International I Pte Ltd and
others [2020] 2 SLR 379, Civil Appeal No. 184 of 2019 (May 19, 2020), a copy of which is enclosed to
this letter.

As stated in the Court of Appeal’s judgment, the settlement agreement provides for “any dispute,
controversy, claim or difference of any kind” arising in connection with the settlement agreement to be
resolved by arbitration. The other details of the referenced settlement agreement are confidential, but
Krafton is aware of its existence and terms. Krafton is also aware that after the arbitration, PUBG Corp.
discontinued the High Court proceedings referred to above. Krafton has chosen not to disclose any of
these matters to Google in filing this notification.
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To the extent there is any remaining dispute, we fully expect that arbitration will resolve the dispute in
Garena’s favor.

Please direct any further questions or concerns to us. All of Garena’s rights are reserved.

Very truly yours,



Mark A. Lemley

MAL:co

cc:            Sean Anderson (sranderson@winston.com)
